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9
                               UNITED STATES DISTRICT COURT
10                            WESTERN DISTRICT OF WASHINGTON

11      MARK BRYANT, individually and on                  Case No. 3:21-cv-05262-JLR
        behalf of all others similarly situated,
12                                                        CLASS ACTION
                                            Plaintiff,
13                                                        STIPULATION FOR DISMISSAL
                             v.                           WITH PREJUDICE
14
        FISHER INVESTMENTS, INC.,
15
                                          Defendant.
16

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18             Plaintiff Mark Bryant and Defendant Fisher Investments, Inc., pursuant to Federal Rule
19     of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the dismissal of this action as follows:
20     All claims of Plaintiff are hereby dismissed with prejudice. All claims of the putative class
21     members are hereby dismissed without prejudice. Each party to bear their own costs and
22     attorney’s fees.
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27
     Bryant v. Fisher Investments, Inc.
28   Case No. 21-cv-05262
     Stipulation for Dismissal With Prejudice
              Case 3:21-cv-05262-JLR Document 29 Filed 09/13/21 Page 2 of 3




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2    DATED: September 13, 2021
3                                               Respectfully Submitted,
4                                               IJH LAW
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              Case 3:21-cv-05262-JLR Document 29 Filed 09/13/21 Page 3 of 3




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